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Northern District of Texas at Fort Wotth
UNITED STATES OF AMERICA
V. ORDER OF DETENTI()N PENDING TRIAL
SONIA CANTU Case 4118~MJ~423(02)
Dej%ndant

  
  

In accordance With the Bail Reform Act, 18 U.S.C. § 3 i42(f), a detention hearin
that the following facts require the detention of the defendant pending tr
Part I_Findings of Fact

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~di§iaicr or texas

 
     

jj a crime ofvio§ence as defined in ZS U.S.C. § 3156(a)(4).
m an offense for which the maximum sentence is life imprisonment or death.
l:} an offense for which a maximum term of imprisonment often years or more is pres `

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ij a felony that was committed after the defendant had been convicted of two or more rio{fiedl?¢tlalibfflzbses iles@i'ilit:\d`ift*i§§“U.S.C.
§ 3142($(§)(A)~(C), or comparable state or local offensesl By MM~“
§:} (2) "§`he offense described in finding (i) was committed while the defendant was on release ending trial i"nr n -n»aplr?.§i:‘~`sit"»a'tc-m local oriense. `
[:j (3} A period of not more than five years has elapsed since the i:] date of conviction §§ re§ease of the defendant from imprisonment
for the offense described in finding (l).
[:j (4} Findings Nos. (i), {2) and (3) establish a rebuttable presumption that no condition or combination ot` conditions will reasonably assure the
safety of (an) other person(s) and the community I further find that the defendant has not rebutted this presumptionl

Alternative Findings (A)
@! (§) '§Ac is probable cause to believe that the defendant has committed an offense

for which a maximum term of imprisonment often years or more is prescribed in 21 \¢LS cr §§ K.I!L'l § %"MF

i:] under 18 U.S,C. § 924(c).

 

` §:i under .
g (2) The defendant has not rebutted the presumption estabiished by finding l that no condition or combination of conditions will reasonably assure
the appearance of the defendant as required and the safety of the communityl
Alternative Findings (B)
{:] ( l) There is a serious risk that the defendant will not appear.
l:] (2) There is a serious risk that the defendant will endanger the safety of another person or tile community

 

 

 

Part II-~»»Written Statement of Reasons for Detention

l find that the credible testimony and information submitted at the hearing establishes by §”_"] clear and convincing evidence |:§ a prepon~
derance of the evidence that

 

 

 

 

Part II`I_Directions Regarding Detention
The defendant is committed to the custody cfthe Attorney General or his designated representative for confinement in acorreeticns facility separate,
to the extent practicable7 from persons awaiting or serving sentences or being held in custody pending appeal Thc defendant shali be afforded a
reasonable opportunity for private consultation With defense counsel. On order of a court of the United States or on request oi" an attorney for the
Government, the person in charge of the corrections facility shall deliver the defendant to the United States marshal for the purpose of an appearance
in connection with a court proceedingl

August S, 2018
Date Signn!w'e of.]udz`cr`al Oyj'?cer
JEFFREY L. CURETGN, UNITE§) S'i`A'l`ES MAG}S'I`RATE SUDGE
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*Insert as appiicable: (a) Controlled Substances Act (21 U.S.C. § 80§ er seq.); (§J) Controlled Substances Import and Export Act (21 U.S.C, § 951
et seq.); or (c) Section § ofAct of Sept. 15, 1989 (2] U.S.C. § 955a.).

